Case No. 1:14-cv-02830-RM-CBS Document 1-15 filed 10/17/14 USDC Colorado pg 1 of 1
  Case 3:14-cv-05358-FLW-LHG Document 4-1 Filed 09/26/14 Page 1 of 1 PageID: 111
                                                                    AECEtVEo

                                           Law Office of                 SEP 2 6 .201~
                                      SEAN G. DEVERIN               AT 8:30

                                       116 Oceanport Avenue            WtLfiAM T. WALSH-M
                                                                               CLERK
                                  Little Silver, New Jersey 07739
     Bar Affiliations:                                                        Tel: 732-219-1919
     New Jersey                                                               Fax: 732-530-5147
     New York

                                        September 25, 2014

     Clerk of the Court (Civil Part)
     United States Federal Courthouse
     402 E. State Street
     Trenton, New Jersey 08608
                                                                Via FedEx Courier
     RE: Channel Methods Partners, LLC v. Pharmatech, Inc.
         Case No~# 3:14-CV-05358 FLW-LHG

     Dear Sir\ Madam:

     Enclosed for filing are an original and one copy of:

     (XXX}Notice ofVoluntary Dismissal of Complaint
     (XXX) Proposed form of Order
     (XXX) Certification of Mailing/Service

     I have also enclosed a self addressed stamped envelope for return copy the "filed" Order.

     If you have any duestions in this regard, please contact me immediately.




     CC:    Client

            Jones & Keller, P.C.
            1999Broadway, Suite 3150
            Denver, Co. 80202
            Attn: Maritza Dominquez Braswell, Esq.
